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                           UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                                CRIMINAL MINUTES

Date: October 14, 2020        Time: 35 minutes             Judge: Maxine M. Chesney
Case No.: 18-cr-0465-01       Case Name: USA v. United Microelectronics Corporation
MMC
Attorney for Government: Laura Vartain
Attorney for Defendant: Leslie Caldwell

Deputy Clerk: Corinne Lew                         Court Reporter: Not Reported
Interpreter: n/a                                  Probation Officer: n/a



                          AT&T TELEPHONIC PROCEEDINGS

Status Conference - Held.

Parties shall file their respective memorandums by October 21, 2020. The Government
will include in their sentencing memorandum calculation of guideline range and advise
the Probation Office of the change of plea and sentencing hearing date.

Defendant will file a Waiver of Indictment.

Case continued to October 28, 2020 at 2:15 pm for Change of Plea and Sentencing to be
held by Zoom Webinar.
